                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )         No. 3:11-00194
                                              )         JUDGE CAMPBELL
STERLING RENEVA RIVERS                        )


                                          ORDER

       Pending before the Court is the Government’s Motion To Dismiss Without Prejudice

(Docket No. 1682). Through the Motion, the Government seeks to dismiss Count Two of the

Fourth Superseding Indictment without prejudice.

       The Motion is GRANTED. Accordingly, the trial scheduled for November 19, 2013, and

the Pretrial Conference set for October 23, 2013 are CANCELLED.

       It is so ORDERED.

                                                   _________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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